Case 2:05-cr-20272-SHI\/| Document 19 Filed 08/26/05 Page 1 of 2 Page|D 22

IN THE UNITED sTATES DISTRICT coURT wm
FOR TI-IE wESTERN DISTRICT oF TENNESSEE ""‘“'"
WESTERN DIvISION

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UNITED sTATES 0 AM Ic HBM%&£GULD
F ER A _ usi usm)crm
VS- cR. No. 05-20272-»¥' OFTN'MM

ALBERT SMITH ,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Before the court is defendant's August 23, 2005, motion
requesting continuance of the report date set August 26, 2005. The
continuance is necessary to allow for additional preparation in
this case.

The Court grants the motion and continues the trial date to
0ctober 3, 2005, at 9:30 a.m. with a report date of September 23,
2005, at 2:00 p.m.

The period from September 16, 2005, through October 14, 2005,
is excluded under l8 U.S.C. § 3161(h)(8)(B)(iv0 to allow'defense counsel
additional time to prepare.

- , 'L§{L~
IT IS SO ORDERED this the day of August, 2005.

QZWWL_._

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRIC'I‘ JUDGE

 

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UNITD sATEs DISTRIC COURT - ESTERN DISITRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
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Honorable Samuel Mays
US DISTRICT COURT

